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2    NOA E. OREN, #297100
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JOSEPH RYAN
6
7
                                    UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                 )   No. 15-mj-30 DAD
                                               )
11                          Plaintiff,         )   STIPULATION AND [PROPOSED]
                                               )   ORDER TO CONTINUE
12            v.                               )   PRELIMINARY HEARING
                                               )
13   JOSEPH RYAN, et al.,                      )   Date: April 23, 2015
                                               )   Time: 2:00 p.m.
14                         Defendants.         )   Judge: Hon. Kendall J. Newman
                                               )
15                                             )
16
               The United States of America, through its counsel, Assistant U. S. Attorney
17
     Michelle Rodriguez, and defendant, Joseph Ryan, through Assistant Federal
18
     Defender, Noa E. Oren, defendant, Leonard Velasco, through his counsel, Dustin
19
     Johnson, and defendant, Keri Southwood, through her counsel, Clemente Jimenez
20
     stipulate that the Preliminary Hearing, currently scheduled for March 27, 2015, be
21
     continued to April 23, 2015 at 2:00 p.m.
22
                The continuance is necessary for defense preparation in conferring with
23
24
     their clients and the government to negotiate a resolution to this matter prior to an

25
     indictment being filed.

26
               The parties agree that the above reasons constitute good cause to extend the

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     time for preliminary hearing under Fed. R. Crim. P. 5.1, and that the Court should

28

      Stipulation to Continue                      -1-                            15-mj-030 DAD
       Case 2:15-cr-00116-KJM Document 32 Filed 03/04/15 Page 2 of 3


1    extend the time within which the government must file an indictment to April 23,
2    2015.
3              The parties stipulate that the ends of justice served by granting the
4    defendants’ request for a continuance outweigh the best interest of the public and
5    the defendants in a speedy trial, and that this is an appropriate exclusion of time for
6    defense preparation within the meaning of 18 U.S.C. § 3161(h)(7) (Local Code
7    T4).
8    DATED: March 4, 2015                       HEATHER E. WILLIAMS
9                                               Federal Defender
10
                                                /s/ Noa E. Oren
11                                              NOA E. OREN
12                                              Assistant Federal Defender
                                                Attorney for JOSEPH RYAN
13
14   DATED: March 4, 2015                       /s/ Dustin Johnson
                                                DUSTIN JOHNSON
15
                                                Attorney for LEONARD VELASCO
16
     DATED: March 4, 2015                       /s/ Clemente Jimenez
17
                                                CLEMENTE JIMENEZ
18                                              Attorney for KERI SOUTHWOOD
19
     DATED: March 4, 2015                       BENJAMIN B. WAGNER
20                                              United States Attorney
21
                                                /s/ Michelle Rodriguez
22                                              MICHELLE RODRIGUEZ
                                                Assistant U.S. Attorney
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      Stipulation to Continue                     -2-                                  15-mj-030 DAD
       Case 2:15-cr-00116-KJM Document 32 Filed 03/04/15 Page 3 of 3


1                                           ORDER
2              Finding good cause, the Court orders the preliminary hearing continued to
3    April 23, 2015, at 2:00 p.m., before the Hon. Kendall J. Newman; and, time
4    excluded for the reasons set forth above. The Court finds that the ends of justice
5    served by granting the defendants’ request for a continuance outweigh the best
6    interest of the public and the defendants in a speedy trial.
7    DATED: March 4, 2015
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      Stipulation to Continue                   -3-                              15-mj-030 DAD
